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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION



In re:                                                  CHAPTER 13
                                                        CASE NO. 15-11221-WCH
Yvonne V Skapars,
                        Debtor.



                                NOTICE OF APPEARANCE
                                         AND
                             REQUEST FOR SERVICE OF PAPERS


         You are hereby given notice that Harmon Law Offices, P.C. appears for Champion

Mortgage Company to represent its interests in this matter. You are requested to serve a copy of

each notice of any proceeding, hearing and/or report in this matter, including, but not limited to

notices required by Bankruptcy Rule 2002 (g) and the Local Rules of Bankruptcy Procedure, upon

the undersigned at the address indicated below.

                                             Respectfully submitted,

                                             Champion Mortgage Company,

                                             By its Attorney


                                             /s/ Richard T Mulligan
                                             Richard T Mulligan, Esquire
                                             BBO# 567602
                                             Harmon Law Offices, P.C.
                                             P.O. Box 610389
                                             Newton, MA 02461-0345
                                             (617) 558-0500
                                             617-243-4049 (fax)
                                             mabk@harmonlaw.com
Dated: April 16, 2015



 201504-0441                                      BKR
                                                                   /Notice of Appearance/Skapars, Aurelis
  Case 15-11221              Doc 13     Filed 04/16/15 Entered 04/16/15 13:06:45      Desc Main
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                                                                              In Re: Yvonne V Skapars
                                                                              Case No. 15-11221-WCH
                                                                                         CHAPTER 13




                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MASSACHUSETTS
                                            EASTERN DIVISION

IN RE:                                                 CHAPTER 13
                                                       CASE NO. 15-11221-WCH
Yvonne V Skapars



                                        CERTIFICATE OF SERVICE

       I, Richard T Mulligan, Esquire , state that on April 16  , 2015, I electronically filed
the foregoing document on behalf of Champion Mortgage Company with the United States
Bankruptcy Court for the District of Massachusetts using the CM/ECF System. I served the
foregoing document on the following CM/ECF participants:

John Fitzgerald, Esquire, Assistant U.S. Trustee
Carolyn Bankowski, Esquire, Chapter 13 Trustee
Peter M. Daigle, Esquire for the Debtor

I certify that I have mailed by first class mail, postage prepaid the documents electronically filed
with the Court on the following non CM/ECF participants:

                                                        /s/ Richard T Mulligan
                                                        Richard T Mulligan, Esquire
                                                        BBO# 567602



Mrs. Yvonne V Skapars
122 Oakmont Rd
Yarmouth Port, MA 02675-1666


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